    Case: 1:18-cv-05369 Document #: 42 Filed: 12/05/18 Page 1 of 3 PageID #:1421



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UBIQUITI NETWORKS, INC.,                      )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )      No. 18-CV-5369
                                              )
CAMBIUM NETWORKS, INC.                        )      Judge Feinerman
CAMBIUM NETWORKS, LTD.                        )
BLIP NETWORKS, LLC                            )
WINNCOM TECHNOLOGIES, INC.,                   )
SAKID AHMED, and                              )
DMITRY MOISEEV,                               )
                                              )
               Defendants.                    )

                            NOTICE OF SERVICE OF DISCOVERY

       Pursuant to Section A(5) of the Standing Order Regarding Mandatory Initial Discovery

Pilot Project in the Northern District of Illinois, I, Elizabeth B. Herrington, an attorney, hereby

certify that I caused a copy of Plaintiff Ubiquiti Networks, Inc.’s Mandatory Initial Discovery

Responses to be served by electronic mail on all counsel of record, this 5th day of December 2018.

Dated: December 5, 2018                            Respectfully submitted,

                                                   By: /s/ Elizabeth B. Herrington
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Case: 1:18-cv-05369 Document #: 42 Filed: 12/05/18 Page 2 of 3 PageID #:1422



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                                         Inc.




                                     2
    Case: 1:18-cv-05369 Document #: 42 Filed: 12/05/18 Page 3 of 3 PageID #:1423



                                CERTIFICATE OF SERVICE

        I, Elizabeth B. Herrington, an attorney, hereby certify that on this 5th day of December,

2018, I electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,

which will automatically send e-mail notification to the Court and to attorneys of record.


                                                     /s/ Elizabeth B. Herrington
                                                     Elizabeth B. Herrington
